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     Attorneys for Plaintiffs
 7
                         IN THE UNITED STATES DISTRICT COURT
 8

 9                                 FOR THE DISTRICT OF ALASKA
10
     JENNIFER SPENCER, individually and on
11   behalf of all others similarly situated,
12
                     Plaintiffs,
13
     vs.
14
                                                    Case No. 3:19-cv-00087-SLG
15
     ADAM CRUM, in his official capacity as
16
     Commissioner of the Alaska Department of
17   Health and Social Services, and
     SHAWNDA O’BRIEN, in her official
18   capacity as Director of the Alaska Division
19   of Public Assistance,

20                   Defendants.
21

22                     NOTICE OF SETTLEMENT NEGOTIATIONS
23          Pursuant to this Court’s April 9, 2019 Order Re Initial Scheduling & Planning
24
     Conference Report, plaintiff Jennifer Spencer, through counsel, the Northern Justice
25

26
     Project, LLC, hereby notifies the Court that the parties are actively engaged in settlement

27   negotiations. The parties expect to conclude their settlement negotiations by May 10,
28
     2019, and will notify this Court if more time is required.
     NOTICE OF SETTLEMENT NEGOTIATIONS
     Jennifer Spencer, et al. v. Adam Crum, et al.
     Case No. 3:19-cv-00087-SLG
     Page 1 of 2 Case 3:19-cv-00087-SLG Document      12 Filed 04/11/19 Page 1 of 2
 1           DATED this 11th day of April, 2019.
 2
                                             NORTHERN JUSTICE PROJECT, LLC
 3                                           Attorneys for Plaintiff
 4

 5                                           By: /s/ Goriune Dudukgian
                                                Goriune Dudukgian, ABA No. 0506051
 6                                              James J. Davis, Jr., ABA No. 9412140
 7

 8

 9
     CERTIFICATE OF SERVICE
10   I certify that on April 11, 2019
     I served the foregoing document
11   electronically via the ECF system on:
12   Alexander J. Hildebrand
13
     By: /s/ Goriune Dudukgian
14

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     NOTICE OF SETTLEMENT NEGOTIATIONS
     Jennifer Spencer, et al. v. Adam Crum, et al.
     Case No. 3:19-cv-00087-SLG
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